   Case 08-14631-GMB           Doc 32    Filed 03/18/08 Entered 03/18/08 17:38:18            Desc Main
                                        Document      Page 1 of 3

                                                                                    3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                    Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge: Gloria M. Burns

                    Debtors.                                  Chapter: 11


            INTERIM ORDER: (I) PROHIBITING UTILITY COMPANIES FROM
          DISCONTINUING, ALTERING OR REFUSING SERVICE; (II) DEEMING
         UTILITY COMPANIES TO HAVE ADEQUATE ASSURANCE OF PAYMENT;
          AND (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS
              FOR ADDITIONAL ASSURANCE PURSUANT TO 11 U.S.C. § 366


             The relief set forth on the following pages, numbered two (2) through three (3), is hereby

    ORDERED.




DATED: 3/18/2008
Case 08-14631-GMB            Doc 32      Filed 03/18/08 Entered 03/18/08 17:38:18                     Desc Main
                                        Document      Page 2 of 3

Page 2

Shapes/Arch Holdings L.L.C., et al.

Case No. 08-

Interim Order: (i) Prohibiting Utility Companies from Discontinuing, Altering or Refusing Service; (ii) Deeming
Utility Companies to Have Adequate Assurance of Payment; and (iii) Establishing Procedures for Resolving
Requests for Additional Assurance Pursuant to 11 U.S.C. § 366



         Upon consideration of the verified motion (the “Motion”)1 of the above-captioned

debtors and debtors-in-possession (the “Debtors”), for entry of interim and final orders pursuant

to 11 U.S.C. § 366: (i) prohibiting the Utility Companies from altering, refusing or

discontinuing services to the Debtors on the basis of the commencement of these cases or on

account of any unpaid invoices for services provided prior to the Petition Date; (ii) deeming the

Utility Companies adequately assured of future performance on the basis of the establishment of

a Utility Deposit; and (iii) establishing procedures for resolving requests for additional assurance

of payment, notice of the Motion being sufficient under the circumstances; and sufficient cause

appearing therefor, it is ORDERED:

         1.      That the Motion is GRANTED.

         2.      That until such time as the Final Order is entered by the Court, all Utility

Companies are prohibited from: (i) altering, refusing or discontinuing services to, or

discriminating against, the Debtors on the basis of the commencement of these cases or on

account of any unpaid invoice for services provided prior to the Petition Date; and (ii) requiring

payment of a deposit or receipt of any other security for continued services as a result of the

Debtors’ bankruptcy filings or any outstanding prepetition invoices other than as set forth in the

Motion.



1
  Unless otherwise defined herein, all capitalized terms shall have the same meanings ascribed to
them in the Motion.

                                                    2


                                                                    Approved by Judge Gloria M. Burns March 18, 2008
Case 08-14631-GMB            Doc 32      Filed 03/18/08 Entered 03/18/08 17:38:18                     Desc Main
                                        Document      Page 3 of 3

Page 3

Shapes/Arch Holdings L.L.C., et al.

Case No. 08-

Interim Order: (i) Prohibiting Utility Companies from Discontinuing, Altering or Refusing Service; (ii) Deeming
Utility Companies to Have Adequate Assurance of Payment; and (iii) Establishing Procedures for Resolving
Requests for Additional Assurance Pursuant to 11 U.S.C. § 366


         3.      The Motion and this Interim Order shall be served, via first-class mail, on each

Utility Company the Debtors believe could be affected by the Motion and all other parties

required to receive service under Federal Rule of Bankruptcy Procedure 2002 within five (5)

days of entry of this Interim Order.

         4.      The deadline by which objections to the Motion and the Final Order must be filed

by is 4/2/2008                              , at 4:00 p.m.

         5.      A final hearing, if required, on the Motion will be held on 4/3/2008

at 10:00          a.m/p.m.

         6.      If no objections are filed to the Motion, the Court may enter the Final Order

without further notice or hearing.




CHERRY_HILL\430617\1 077771.000




                                                    3


                                                                    Approved by Judge Gloria M. Burns March 18, 2008
